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                                CERTIFICATE OF SERVICE

      I hereby certify that on the 27th day of August 2019, I caused the foregoing documents to be

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